Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
Filed 05/17/19   Case 17-13797   Doc 1415
